Case 8:10-cv-01441-DOC-E Document 1 Filed 09/23/10 Page 1 of 11 Page ID #:1
Case 8:10-cv-01441-DOC-E Document 1 Filed 09/23/10 Page 2 of 11 Page ID #:2
Case 8:10-cv-01441-DOC-E Document 1 Filed 09/23/10 Page 3 of 11 Page ID #:3
Case 8:10-cv-01441-DOC-E Document 1 Filed 09/23/10 Page 4 of 11 Page ID #:4
Case 8:10-cv-01441-DOC-E Document 1 Filed 09/23/10 Page 5 of 11 Page ID #:5
Case 8:10-cv-01441-DOC-E Document 1 Filed 09/23/10 Page 6 of 11 Page ID #:6
Case 8:10-cv-01441-DOC-E Document 1 Filed 09/23/10 Page 7 of 11 Page ID #:7
Case 8:10-cv-01441-DOC-E Document 1 Filed 09/23/10 Page 8 of 11 Page ID #:8
Case 8:10-cv-01441-DOC-E Document 1 Filed 09/23/10 Page 9 of 11 Page ID #:9
Case 8:10-cv-01441-DOC-E Document 1 Filed 09/23/10 Page 10 of 11 Page ID #:10
Case 8:10-cv-01441-DOC-E Document 1 Filed 09/23/10 Page 11 of 11 Page ID #:11
